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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                   Plaintiff,                                   8:11CR306

      vs.
                                                                  ORDER
JUSTIN WARNACA,

                   Defendant.


      This matter is before the court on the motion to withdraw attorney, Filing No. 96.

The Federal Public Defender’s Office was appointed for the sole purpose of a potential

reduction of sentence pursuant to Amendment 782 to the U.S. Sentencing Guidelines.

The defendant was sentenced to the statutory mandatory minimum sentence and does

not qualify for a sentence reduction pursuant to Amendment 782.

      IT IS ORDERED that:

      1.     The motion to withdraw, Filing No. 96, is granted.

      2.     David Stickman and the Office of the Federal Public Defender are

deemed withdrawn from further representation as to defendant Justin Warnaca.



      Dated this 14th day of October, 2015

                                                 BY THE COURT:
                                                 s/ Joseph F. Bataillon
                                                 Senior United States District Judge
